24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 1 of 34

IN THE UNITED STATES BANKRUPTCY COURT

IN AND FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
W.R. GRACE & CO., et al., : Case No. 01-01139(JJF)
Debtors. : Jointly Administered

Wilmington, Delaware
Wednesday, April 18, 2001

11:30 a.m. =

co

BEFORE: HONORABLE JOSEPH J. FARNAN, JR., U=S.D.C30.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 2 of 34

MS. JONES: Good morning, Your Honor. Laura
Davis Jones on behalf of W.R. Grace & Company.

Your Honor, first let me start by thanking you
with your flexibility on scheduling the hearing, the status
hearing for today. We played around a little bit with Your
Honor's calendar, and we appreciate you being flexible on
that.

Secondly, Your Honor, on behalf of all of us, we
do send our condolences for your loss.

THE COURT: Thank you.

MS. JONES: Your Honor, if we could look at the
agenda that we forwarded to the Court yesterday, there are
just a few matters we would like to cover with the Court. If
I may, I would start with some introductions.

Your Honor, I introduce to the Court James
Sprayregen and David Bernick, both of the Kirkland & Ellis
firm. I think there are some others that want to make some
introductions.

THE COURT: Good morning. Thank you, Ms. Jones.
This is the time.

MR. LASTOWSKI: If I may, Your Honor. Michael
Lastowski of Duane, Morris & Heckscher. Here today as
proposed co-counsel for the Official Committee of Unsecured
Creditors, Mr. Robert Raskin of the New York law firm Stroock

& Stroock & Lavan. He is a member in good standing of the

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 3 of 34

Bar of the State of New York. And I would like to move his
admission for purposes of today's hearing.

MR. RASKIN: Thank you, Your Honor.

THE COURT: We will grant that application.

MR. JOSEPH: Your Honor, may it please the Court,
Michael Joseph of Ferry & Joseph, proposed local counsel to
the Committee of Property Damage Claimants. I would like to
introduce to you Scott Baena of the firm Bilzin, Sumberg,
Dunn, Baena, Price & Axelrod.

THE COURT: Thank you, Mr. Joseph. Good
morning.

MR. BAENA: Good morning.

MR. KNIGHT: Good morning, Your Honor. John
Knight from Richards, Layton & Finger. I am local counsel to
Chase Manhattan Bank. We are the largest unsecured creditor
in this case and chair of the Creditors' Committee. With me
today is Ms. Nancy Lazar from Davis, Polk & Wardwell of New
York. I would like to orally move her admission pro hac
vice, and I will follow it up with the appropriate papers.

THE COURT: Thank you. Good morning, welcome.

MR. SCHWARTZ: Good morning, Your Honor. I
hadn't planned on doing this. On the telephone is my
co-counsel for National Medical Care, Inc., David Rosenbloom
of McDermott, Will & Emery. He is in good standing in the

State of Illinois. And I orally move his admission.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 4 of 34

4
THE COURT: Thank you. Your application is
granted.
MR. SCHWARTZ: Thank you.
MR. JAMISON: Your Honor, Bruce Jamison of
Prickett Jones. I am here on behalf of various California

plaintiffs who have asbestos claims. On the phone I hope is
Lewis LeClair of the McKool Smith firm in Dallas. With the
Court's permission, I would move his admission pro hac vice
orally. I will follow up with the appropriate papers.

THE COURT: Thank you. Your application will be
granted.

MR. YODER: I may be the last one, Your Honor.
Good morning. Steve Yoder from The Bayard Firm on behalf of
the DIP lenders, Bank of America. Our co-counsel in the case
is Latham & Watkins. We don't have anyone on the phone. We
are here taking care of business today on our own.

THE COURT: All right. Thank you.

MR. SPRAYREGEN: Good morning, Your Honor. As
Ms. Jones introduced, I am James Sprayregen from Kirkland &
Ellis, counsel to the debtors.

Your Honor, we have a limited amount of things we
would like to try to cover with you this morning. As the
Court knows, this case was filed on April 2nd, and ultimately
the reference was withdrawn to this Court.

On April 12, as indicated by the plethora of

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 5 of 34

counsel coming to the podium, there were three different
committees formed. There is a commercial committee formed in
this case, a property damage, asbestos property damage
committee formed, and an asbestos bodily injury committee
formed.

Just for counting purposes, our expectation is
there probably will be a request in the near future, we have
heard, for the formation of an equity committee. So we can
expect possibly one more committee to be formed in this case.

Your Honor, on the first day, on April 2, there
were a number of matters heard by Judge Newsome, a number of
first-day orders entered. I don't propose to review that for
the Court. I believe all the papers have been provided.
Unless the Court had questions concerning those, I would just
move on to what the open matters are.

With respect to that, in particular, there was an
adversary proceeding filed and a temporary restraining order
entered at that time, where it was extended through April
24, That related to a number of asbestos matters. I would
ask that we need to discuss some issues related to that and
the asbestos background, as well as scheduling. Mr. David
Bernick from my firm would propose to address that.

THE COURT: Thank you.

MR. BERNICK: Good morning, Your Honor. David

Bernick, Kirkland & Ellis, for the debtors.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 6 of 34

We filed with the Court on the first day an
informational brief. If the Court has the time, we would
urge the Court take a look at the brief. It is really our
effort to try and define why it is that we are here, what it
is that we want to accomplish in this case. We took some
time to lay it out. We know it is long and a little bit
detailed. But if the Court has the time, we would very much
urge that you take a chance to take a look at the brief. It
sets out what we would like to accomplish in this case.

What I would like to do this morning, just very
briefly, is give you a flavor of that, then turn to one of
the matters at hand, which is trying to schedule a
preliminary injunction hearing to deal with collateral
litigation that is still extant in different parts of the
country, to talk about that just very briefly. Those are the
principal points that I want to cover this morning, as well
as to answer any questions that Your Honor might have at this
time.

Without further ado, unless there are questions
you have initially, I thought I would at least give an
overview of some of the background of the case, if that is
appropriate.

THE COURT: All right.

MR. BERNICK: This is a debtor that has gone into

11 not because of any fundamental problem in its business or

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 7 of 34

its business operations. The debtors, and the Grace
organization, is a strong, financially solvent organization.
Its businesses are very robust. Obviously, this decision
came with a great deal of difficulty because of that fact.

We are basically here because of a liability
problem, the litigation problem. That is asbestos. This is
an asbestos case.

There are three historical areas where there has
been litigation with regard to asbestos. This is very
important to what we want to do in this proceeding, is these
three major areas of litigation. Basically, they arise from
a purchase in 1963.

Grace purchased a company called Zonolite in
1963. The litigation that has arisen since that time that
ultimately brings us here falls into three principal
categories. First, there was a mine called the Libby Mine,
in Libby, Montana. The mine was operated -- and I have it
down here -- from 1963 until 1990. Essentially, what they
did is they mined a mineral called vermiculite. We will talk
a little bit about vermiculite a little later on. It was a
vermiculite mine.

In the course of taking the vermiculite ore out,
there were asbestos-containing materials in the mining
process, a material called tremolite, which is a form of

asbestos. Obviously, in the mining and milling and refining

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 8 of 34

process, there were asbestos exposures during the mining
operation and the refining operations.

Cases started to be prosecuted against the
company over time at a fairly low rate. I have down here
about 216 cases ultimately have been pursued relating to the
Libby Mine. That was one area, called the Libby litigation.

The second area relates to another product,
called Monocoat 3. Monocoat 3 was an insulation product that
was used in largely commercial structures. It's the
insulation that was used on the steel structural beams. It
went on wet and it was cementatious. It wasn't a dry mix
kind of application. So it went on wet around the beams.

The second area of the litigation concerned this
product. And that was property damage claims. Grace has
faced property damage claims for a number of years. Very
substantial litigation, largely over. Today, there are only
seven cases, property damage cases, that are pending. There
have been upwards of a total of 370 cases that have been
filed involving literally thousands of buildings. But the
litigation largely has run its course. It's been extensive.
There have been extensive settlements. There are seven cases
that are left, again, involving property damage for this
Monocoat 3 product.

The third area of the litigation is bodily injury

litigation -- that is probably the principal reason that we

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 9 of 34

are here -- again, relating principally to this Monocoat 3
product.

The company was not a first-tier player in the
asbestos bodily injury litigation. If I could approach the
Court, I have got a little chart that might be useful here,
if that is appropriate.

This is actually pictured in our informational
brief as well. Therefore, it is part of the record. But if
you look to the date that is to the furthest left-hand side,
you will see that it is 1982. That was the same year that
Johns Manville actually filed for bankruptcy. So the first
tier or the first wave of the asbestos litigation focused on
companies that were the principal manufacturers and suppliers
of asbestos, including principally Johns Manville. By 1982
they had already faced this large wave of cases and they had
filed for Chapter 11. Obviously, that first wave didn't
include Grace.

We don't have superimposed on here either a
company like Owens-Corning. Owens-Corning was probably more
of a second-tier player. If you took a look at the
Owens-Corning curve, at the time of 1982 you would see that
Owens-—Corning curve was already up much further on the
scale. And as the eighties unfolded, particularly in the
mid-eighties, you would see the Owens-Corning curve be very

high on this chart. They are kind of a second or

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 10 of 34

10

first-and-a-half-wave defendant.

You will see throughout the 1980s, that was just
not true of Grace. It was not a substantial problem. It was
a problem, but not a substantial problem. Only when you get
to the back end of the 1980s do you start to see the volume
of claims grow. And it was because, although this is
something that would have to be determined and studied, is
what we call volume and effects. In 1988 Manville comes out
of bankruptcy with payment criteria. At the time of the
initial trust, there aren't payment criteria at all. There
are simply case-by-case resolutions. But there are a huge
volume of claims which start to be present.

We believe one of the things going on in the late
1980s and early 1990s is you have claims that are being
processed against a whole series of companies all at once,
kind of a mass volume of claims. That became even more
pronounced in the back end of the 1990s when these trust
criteria were put in place. So when the volume claims
business starts to pick up in the late 1980s and early 1990s,
at that time Grace starts to see a significant influx of
cases.

The response to it was, you know, kind of dealing
with the problem that didn't seem to go away. At first Grace
basically settled cases because the price that was demanded

was extremely cheap. It was very, very easy to settle cases

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 11 of 34

ll

and not bother with them.

By the 1990s, though, the early 1990s, it became
clear the volume wasn't going to go away, and Grace actively
litigated the cases and was fairly successful in that
process. Out of 63 trials, they won 44.

That became an extraordinarily expensive process,
to litigate these cases. If you look at the chart, see the
spike that starts in 1995, 1996, by the mid-1990s, Grace had
decided to go with what were essentially inventory
settlements, where instead of litigating as actively,
basically, cases would be bundled up and settled in huge
volume. You can see how the volume starts to come up.

On that kind of full-throttle basis, however, the
claims ultimately peaked in 1996. We then see this downward
trend begin, that carried throughout all the back end of the
1990s. Year by year the trend is coming down. And Grace's
actuary said, this is what you would expect, given basic
actuarial principles, is that the claims would come up and
they would come back down.

The problem, of course, again, if I might
approach one more time, is with the back end of the story.

In the last 12 months, 12 to 18 months, the whole picture of
Grace's litigation situation changed fairly dramatically. As
you will see, the claims, beginning probably in late '99 but

certainly in 2000, spiked dramatically. We can see no

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 12 of 34

12

explanation in law or explanation in science or principle of
actuarial estimation that says that they should have spiked.
They just went through the roof.

The demands also increased during this period of
time. In contrast to the prior situation, which was very
expensive but basically manageable, that was not a manageable
Situation. More than any other reason, the reason we are
here today is that the claims process, which was painful and
costly but manageable, had come down, and then all of a
sudden it spiked up and the company was no longer in a
position to manage that liability.

At the same time, in the other areas of
litigation, there were also adverse developments. Remember,
I talked about that mining site, at Libby, Montana, where
they took vermiculite out of the ground. By the time
vermiculite becomes a refined product, it's got very, very
little asbestos in it, thousandths of one percent of asbestos
in the final vermiculite.

One of the applications of vermiculite was to be
used for attic fill, which is essentially taking significant
amounts of this vermiculite and tucking it away in the attic
as an insulation. It was used residentially for that
purpose.

In the recent past, a whole new effort to

litigate against Grace was initiated, a total of I think

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 13 of 34

13

eight different class actions, four in state and four in
Federal Court had been filed, all seeking to compel
essentially the remediation or removal of attic fill from all
these residential buildings around the country.

That was yet a further development. Then
finally, even at Libby itself there was a class action that
sought medical monitoring. All the different areas where
Grace was facing litigation, but in the most pronounced way,
with regard to the bodily injury cases, the situation in the
last 12 to 18 months involved very, very adversely, and we
felt that there was really no choice but to proceed through
Chapter 1l.

As a result of that backdrop, we are here in this
case principally to try and define this liability, what is
the actual liability that the company faces, and do so ina
controlled way and in a federal court with Federal Rules on a
consolidated basis, to define the liabilities by focusing on
what we think are key criteria for payment and key issues
that have to be resolved, so that ultimately we can then
provide for the resolution of all those claims in the trust.

This approach, elements of this approach were
present in the Dow Corning Chapter 11. I represented Dow
Corning as their national trial counsel before the 11, and
ultimately negotiated the Chapter 11 plan of reorganization

for Dow Corning. Elements of this approach were present

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 14 of 34

14

there.

We have also taken the same approach in Babcock &
Wilcox. We are counsel to Babcock & Wilcox, which is a
bankruptcy pending in New Orleans, again, driven by very
similar dynamics and a very similar problem. That case is
now a little bit more advanced. The reference has been
withdrawn to the District Court on tort liability issues. A
bar date has now been set up for personal injury claims, and
we are walking down the road to try to define the liability
in this case, still in the somewhat early days, but the
process is under way.

That is essentially where we would like to go
here. We would like to propose to the Court and to the
various constituencies the procedures that are necessary to
define this liability so that we can then figure out a stream
of payments that makes sense and get on with the company's
business. That is why we are here, Your Honor.

I know at a point I will hear from counsel for
the Tort Claimants Committee, Mr. Inselbuch. We have been
through these issues before down in New Orleans. We will go
through them again. We look forward to discussing those
issues with the Court and with the different constituencies.

That is basically the background of why we are
here.

The only litigation matter that really is

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 15 of 34

15

outstanding at this time is the TRO and the preliminary
injunction hearing. I don't know if the Court has had the
opportunity to take a look at that issue and that matter, or
whether I should give the Court a little background on that
as well.

THE COURT: I have not looked at the papers on
the TRO or the preliminary injunction. But I am more
interested in scheduling it and then having a chance to read
the papers.

MR. BERNICK: Sure. I think the TRO is set to
expire on Your Honor's most recent order on the 24th, which
would be next Tuesday. So we would urge the Court set down a
hearing. We are prepared to do that, obviously, in a way
that suits the convenience of the Court. If it is absolutely
not possible to do it the early part of next week and slips a
few days, that doesn't make us feel tremendously
comfortable. On the other hand, I don't think something
catastrophic is going to take place in these other cases if
there is a little bit of a gap thereafter.

THE COURT: All right. Anybody else wish to be
heard on the matter of the scheduling of the pending
preliminary injunction?

So if you could tell me the amount of time,
assuming that this is handled as preliminary injunctions are

typically handled in this Court, that is largely on papers,

24

2a

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 16 of 34

16

with limited live testimony, if any, how much time do you
think is required in your view?

MR. BERNICK: I think it ought to be a very
simple and straightforward hearing, judging by what happened
with Babcock & Wilcox, which is our most recent experience on
this, indeed, a lot of it was uncontested. I would imagine
that the whole thing could probably take place in a couple
hours, almost at the outside. I do know that we have at
least one -- we have one affidavit that is already on file.
I believe there will be another affidavit that we will file.
So I think it is largely a question of arguing the matter to
the Court based on the briefs, and that would be something
that obviously depends upon the Court's desire to entertain
that kind of argument. I don't think that right now we would
anticipate that there would be any significant oral
testimony. That may change and I may be advised by counsel
otherwise. But I wouldn't expect it.

THE COURT: Okay.

MR. BERNICK: In light of the fact the committee
has just been formed, if it makes sense to do it towards the
back end of next week or at some point the week after that,
it's been pointed out to me that one of the ways we can try
to create a bridge between the expiration of the TRO and the
hearing is if the Court would change the TRO into a

preliminary injunction, but a temporary one, we can bridge

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 17 of 34

17

whatever gap would exist in the calendar.

THE COURT: Okay. Does anybody else have a view
with regard to the presentation of the motion?

MR. ZALESKI: Good morning still, Your Honor.
Matt Zaleski on behalf of the Asbestos Personal Injury
Claimants.

Most importantly, I wanted to confirm that Mr.
LeClair is still on the phone. He is the plaintiff's counsel
most directly affected by this. I didn't hear any sort of
suggestion as to his availability. I think he may very well
be the single most important player from the opposite side of
the room. If I can confirm Mr. LeClair is still on the
phone.

MR. LeCLAIR: Yes, I am here. Although,
unfortunately, the sound comes and goes. So I haven't been
able to hear everything.

MR. ZALESKI: That was my primary concern.

Mr. Bernick is correct, you will be hearing from
us on the rest of the issues he described earlier. Thank
you.

THE COURT: Anyone else?

MR. BAENA: Scott Baena on behalf of the Property
Damage Committee. If the Court could indulge us, since we
are still in formation, only have had an opportunity to

discuss these matters one time, fully, as a committee, if we

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 18 of 34

18

could move this to the week after next, that would really be
very helpful to us. Thank you.

THE COURT: All right. Anyone else?

MS. LAZAR: Nancy Lazar from Davis Polk on behalf
of Chase.

There were a lot of first-day orders entered in
this case. We have agreed with the debtor for an extension
of time for one week to file any objections with respect to
the DIP financing order. And just in terms of scheduling,
you might want to put that somewhere on your calendar as
well, in case we can't work things out.

Thank you, Your Honor.

THE COURT: All right. Thank you. Anyone else
interested in being heard about scheduling, either the
preliminary injunction or matters carrying over from
first-day orders?

MR. SPRAYREGEN: Your Honor, just so you have all
the facts in your head in the scheduling, the Official
Committee of Unsecured Creditors also asked for an extension
of time to object to a number of other first-day orders,
too. And I don't have the full list, but there is a number.
They didn't state any particular objections. But they wanted
some more time because they had just been formed. Objections
were due today. So if there was going to be further

scheduling, if there turned out to be objections, we would

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 19 of 34

19

think about the possibility of having one day for all of
these things.

THE COURT: Is your suggestion -- I am really not
up to speed on this case in terms of my reading yet. Are you
suggesting that the preliminary injunction be on one day, and
then we select a day when we take up objections or matters to
be heard that have carried forward from the first-day
orders?

MR. SPRAYREGEN: Optimally, one day for
everything, and it might be five minutes, for all I know. I
don't know that there is going to be objections. But
optimally.

THE COURT: So you are suggesting there is two
levels of attention required and put them on the same day.

MR. SPRAYREGEN: Yes. With the caveat that if
the Court didn't have sufficient time we would look to the
preliminary injunction matters first. Obviously, the DIP
financing, if there turns out there are objections, will be
critical too. Everything else we think is very important.
But efficiency-wise, one day would be great.

THE COURT: Okay.

MR. RASKIN: Your Honor, Robert Raskin,

Stroock & Stroock & Lavan, for the Official Committee.

Kirkland & Ellis did courteously give us until

next Wednesday to review these papers, which would be the

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 20 of 34
20

25th, I believe. A lot of these papers will have additional
questions on them. So if you are talking about having a
preliminary injunction on or around the time of the TRO
expiring, we may need more time. It may not be that one day
will work for both. That is not to say, Your Honor, that we
will need any day with respect to any objections.

THE COURT: I understand.

With the assumption that there is some form of
order to extend the current order on the temporary
restraining order, and understanding that it would be the
same day that we would hear any carryover matters from the
first-day orders, how is the afternoon of May the 3rd? A
Thursday?

MR. BERNICK: That would be fine for the debtors,
Your Honor.

MR. BAENA: Judge, are you thinking about
starting early in the morning?

THE COURT: Actually, I was thinking about
starting at 1:30 in the afternoon, and I am going to set time
limits once I read the papers on the injunction. I guarantee
the lawyers will be startled at how little time they have to
argue orally if their papers are good. Then I would take up
the first-day matters.

Pretty much the injunction hearing turns out to

be my time to ask questions and get some matters cleared up.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 21 of 34
21

I typically come in with very focused areas that I want them
to talk about. If the papers are bad -- I don't expect that
in this case, but I just haven't seen them. I am thinking,
sometime around two hours total for the hearing. And then
the rest of the afternoon for anything we have to take up
that might form an objection to the first-day carryover. Is
that not enough time? Or tell me this: Is late in the day a
problem for you, because of travel?

MR. BAENA: Some of us are involved in another
matter. Late in the day is actually best, because then some
of us could come during the same day to appear before the
Court and not have to stay over the night before. That
particular day some of us are involved in another matter
across the street at 3:00 before Judge Walrath.

THE COURT: So if I did like 1:30 to 3:30, then
started the second phase at 4:00 o'clock, again, there may
not be a need for a lot of time, and we could continue it out
till you got here, does that work for you? Then you only
have to come one day for Wilmington. I am asking, would you
rather it just be on another day?

MR. BAENA: It would be best, of course, if it
could be the following day, or earlier on the day of the
3rd.

MR. SPRAYREGEN: If earlier in the day was

available, Your Honor, that would be convenient to the

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 22 of 34

22

debtors, also. I don't know if it is convenient to the
Court.

THE COURT: How is this: I have some defendants
that are anxious to go to jail that day. They are scheduled
in those morning hours. I say that, it sounds funny, but if
they get caught late in the day, they get in all sorts of
institutions they don't want to be in because of transport.
If we started this at 8:00, and would going till noontime be
enough?

MR. BAENA: Probably.

MR. SPRAYREGEN: I think that would hopefully
cover everything.

THE COURT: Okay. Then you can go to your
afternoon hearing with Judge Walrath.

MR. BAENA: And the defendants can go to jail.

THE COURT: Right. Everybody is happy.

So I will just move one of the sentencings from
11:00 a.m. till early in the afternoon, as long as I know I
am going to be out by 12. Anybody object to May 3rd,
starting at 8:00?

Now is the time.

We are going to schedule 8 to 12, with the
preliminary injunction hearing commencing at 8. And I will
allot time based on my reading of the papers, and I will let

you know the allocation of time on Monday, the 30th, for

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 23 of 34

those that will be in the preliminary injunction stage. It
would be highly unusual to go beyond two hours, under any
circumstance.

So the rest of you can anticipate, if you needed
to be heard, being heard sometime around 10 to 10:30.

Does that give you enough guidance?

MR. BAENA: Yes, sir, thank you.

MR. LeCLAIR: Your Honor, my question would be on
the briefing schedule, as to when you would want our papers
in response to the injunction.

THE COURT: I am going to put that in place. I
am hoping to be able to do some reading tomorrow or Friday.
So I am hoping to be able to give you a schedule for that
Monday of next week. Is that satisfactory?

MR. LeCLAIR: That is fine, Your Honor.

THE COURT: Okay.

MR. SPRAYREGEN: Also with respect to briefing,
to the extent there is any objections filed to the first-day
orders by the Official Committee of Unsecured Creditors,
their date is Wednesday, April 25th, I don't know whether
there will be or whether we would have any desire to reply
under the new Local Rules, we would need authority. I guess
I would ask, to the extent there is objections, for authority
to file a short reply by whenever is convenient to the Court,

April 30th or May 1.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 24 of 34

24

THE COURT: Either one. Make it May 1.

MR. SPRAYREGEN: Thank you, Your Honor.

THE COURT: You are going to want more time?

MR. RASKIN: It goes back to the other point.

The committee just selected counsel last week. We are going
to be interviewing accountants. There is a lot of economic
impact to some of these motions. We may ask for more time.

THE COURT: In your first request, did I give you
enough time for your first request in scheduling my part of
Le?

MR. RASKIN: Your Honor, depending upon the
nature of the potential disputes, if there are any, we should
be fine, yes, sir.

THE COURT: If you need time for your objections,
you will deal with the debtor.

MR. RASKIN: Yes. And we might have to go beyond
May 3rd. We will obviously deal with the business
contingencies that the debtors have to deal with, also.
Hopefully, we will work that out with the debtor.

THE COURT: Okay. Sounds like we have a
schedule.

MR. YODER: Your Honor, it is my understanding
the debtor is going to hand up a second interim DIP order
today to carry us to that final hearing. I assume we can

schedule, use the May 3rd date as the final hearing for the

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 25 of 34

25

DIP and perhaps use the objection deadline of the 25th.

MR. SPRAYREGEN: When we got to that on the
agenda, that is exactly what I was going to suggest.

THE COURT: We can do that. We will take that
right off the agenda.

MR. SPRAYREGEN: As long as we are a little bit
out of order, we originally, when we appeared at the
first-day hearing, had a proposed interim DIP. We assumed
that we would have a final hearing approximately 30 days from
the filing. And we had a budget presented, showing the need
of a hundred million dollars during that time period. Judge
Newsome thought we might be able to get to a final hearing
within the 15 days, so scheduled -- authorized interim DIP
for only 15 days and only 50 million dollars. In extending
the time period basically 30 days now, we talked to at least
some of the counsel, I am not sure I can represent that there
is agreement, but we talked to counsel to extend it further,
we would ask to go back to the hundred million dollars that
our first-day budget had shown we needed for the 30-day
period, which serendipitously is 31 days.

The order we were going to present was going to
give another interim authority for another 450 million
dollars and schedule the final hearing for May 3rd, if that
is acceptable to the Court. I don't know if any parties have

any problems with that.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 26 of 34

26

THE COURT: Somebody would have to tell me -- it
would be acceptable to me unless somebody can convince me
that they were unduly negatively impacted. And I can't
imagine there is anybody here that could do that. But they
ought to speak up now, if they are here.

MR. YODER: The bank is fine as well, Your Honor.

THE COURT: If the bank is fine, and if we
understand what the thrust of this case is, I can't imagine
anybody has a problem. Why don't we do that.

MS. JONES: Your Honor, may we approach with a
proposed order?

THE COURT: Yes. Has everybody had a chance to
see this?

MS. JONES: Yes, Your Honor.

THE COURT: All right. Are there any other
Matters?

MR. SPRAYREGEN: Your Honor, one other matter,
just to be made clear from the scheduling. 2B on the agenda
was actually a motion for reconsideration of one of the
first-day orders. I am guessing we set the same schedule for
that, and the current response date for objections to the
other motions, I would suggest that be the debtors' response
date to this motion and May 1 be the banks' time to reply.
So that is also set for the 3rd.

THE COURT: Does anybody want to be heard on

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 27 of 34

Af

that?

All right. We will do that.

MR. SPRAYREGEN: The only other item on the
agenda, Your Honor, I am guessing we should probably deal
with your clerk on this, Item 4 was trying to schedule a
series of omnibus monthly hearing dates for this case that is
convenient to the Court and the parties. If you would like
us to deal directly with the clerk, or the Court...

THE COURT: What we will do is, we will be able
to set some omnibus dates in place probably sometime toward
the middle or end of next week. If you want to call
chambers, we could give you those dates. I am not exactly
sure this week what it is I am going to be assigned. So I
want to kind of get a view of that. Then we will be able to
set some dates going forward through the summer for you.

MR. SPRAYREGEN: That is fine, Your Honor. We
will do that. Thank you.

THE COURT: Thank you.

MR. BERNICK: There is one very small matter that
we do need to schedule. We have to serve the summons and
notice on the adversary proceeding in support of the request
for the preliminary injunction. We have to fill in a date
for a pretrial conference. If we serve this by Friday of
this week, it will require a response to the complaint within

35 days, which would put us, basically, towards the back end

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 28 of 34

28

of May. So what we would need to have is a date to fill in
here for a pretrial conference, presumably sometime in June.
This would be a --

THE COURT: Tell me that again now. You need a
pretrial conference in the adversary.

MR. BERNICK: The adversary that we filed to
support the request for injunctive relief against the
prosecution of other cases that are related to this one.

THE COURT: Right.

MR. BERNICK: The summons and notice calls for a
pretrial conference. We want to be able to serve this by
this Friday, because it's only good until this Friday. And
also, this says we need a response date as well.

THE COURT: Why would we have a pretrial
conference?

MR. BERNICK: The summons and notice has a place
for both the response date to the complaint and then for a
pretrial conference in connection with the adversary
proceeding.

THE COURT: Let me see that. It looks like a
form.

MS. JONES: Your Honor, that was the form that
was returned from the Clerk's Office. Usually it comes back
with either a status conference date or a pretrial date or it

can come back with just to be determined. But nothing was

24

a

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 29 of 34
29

filled in. Also, we did not receive a response date, which
is usually 30 days from the summons.

MR. BERNICK: Obviously, Your Honor, we don't
feel a pressing need to have a pretrial conference.

THE COURT: This is obviously an excellent form.

(Laughter. )

THE COURT: I am just not that up to speed to be
able to utilize that excellent form. So don't worry about
that pretrial conference.

MR. BERNICK: We will be happy not to.

THE COURT: It says something about contacting
the courthouse. But once we are actually in need of, I think
Ms. Jones is right, it would be a status conference, kind of
like a Rule 16, you can write a letter and we will get that
scheduled.

MR. BERNICK: Thank you.

THE COURT: That would be better than putting on
a pretrial conference.

Okay. I am going to file with the clerk in open
court the original and duplicate original of the orders that
have been presented. We will be entering an order ona
briefing schedule and setting these dates for the hearings.
And then I will anticipate my chambers hearing from counsel
middle to the end of next week to get omnibus dates going

through the summer for this case.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 30 of 34

30

MS. LAZAR: I just want to clarify the record,
the motion that debtors' counsel referred to with respect to
reconsideration of the DIP financing, I just want to
understand that that is on for May 3rd, for the second part
of the hearing that day.

THE COURT: Yes.

MS. LAZAR: I just want to make sure we didn't
miss anything. I am sorry. There is also another order with
respect to the vendor, payment of excess vendor claims with
respect to the critical vendor motion. That also, we
preserved our rights with respect to that, and I think that
was what you were referring to with respect to replying to,
and the scheduling of that. We would also like that to be
heard on the 3rd.

MR. SPRAYREGEN: Your Honor, that actually was
the motion I was referring to. So I can just confirm, both
those matters are what we believe is up on the 3rd.

THE COURT: I did have a chance to read some
material. The critical vendor motion, I had a sense, was
resolved. Did I miss something there? You read Judge
McKelvie's case and at least in this district you
understood -- what did I not understand?

MR. SPRAYREGEN: Your Honor, we had a critical
vendor motion and we asked for a certain amount of money to

be made available to be paid on that. Judge Newsome

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 31 of 34

31

expressed some concern about the authority for granting that
type of a motion, and ultimately took the position that he
did not want us to pick and choose amongst trade creditors,
asked what the amount of our total trade credit was.

We had asked for four and a half million for
critical trade. Our total trade was about 34.3 million, I
believe. And he ultimately ruled that we could either have
none of that available to be paid or all of it be paid. But
we couldn't do the four and a half million.

So what the debtors did, after conferring, was
went with the latter alternative, to have all of it paid.
That was the order that Judge Newsome entered. We then began
acting on the order. In fact, the order went on the website
and our trade creditors obviously became aware of it. We
Started acting on it ultimately when other people became
aware of it, including the bank. They were concerned that
they wanted us to stick with the original critical trade
order. That is how the motion for reconsideration came up.

MS. Lazar: Your Honor, that was what was agreed
to on the first day. That is the precedent in this district
at least, that you pay your critical trade vendors. You
don't pay all of your prepetition trade debtors on your first
day except under extraordinary circumstances, which do not
exist here.

THE COURT: Tell me this: Who, so the record is

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 32 of 34

32

clear, today, April 18, who is getting paid? And under what
order?

MR. SPRAYREGEN: Here is what has transpired
Since then, Your Honor. Approximately, less than six million
dollars has been paid. And at the request of both the newly
formed creditors' committee and the bank group, the debtors
have essentially significantly slowed down payments.

THE COURT: So you have an order that paid 34
million. But because of the, at least, unheard objection,
you have slowed down to where you have only under that order
paid out six million. But you really only wanted to pay out
four and a half million under the Just For Feet opinion.

MR. SPRAYREGEN: Yes. But the very significant
"but," hopefully we will get this resolved before we show up
on the 3rd. The evidence with respect to that would be, the
defendant has been put in a very difficult position now, it
would have been one thing if the four-and-a-half-million
order had been granted and we acted on it. Once the
35-million-dollar order was granted and all our trade
creditors became aware of it and have an expectation of
payment, the facts have significantly changed. We haven't
agreed to stop payment under that order, because there are
some critical trade that are in the four and a half million.

THE COURT: I know that is in your mind, but in

your heart, you really don't want to pay.

24

25

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 33 of 34

33

MR. SPRAYREGEN: I won't tell you what is in my
heart right now.

MS. Lazar: We would hope not.

THE COURT: Here is what I am thinking: I
understand your situation, to describe it gently. Should
that come back here quickly before May 3rd? Or is that okay
to hold until May 3rd?

MR. SPRAYREGEN: I think what I could suggest,
and the reason why we have significantly slowed it down but
not agreed to stop it, is because we understand the parties
are just getting organized here. The committee was just
formed. We actually agreed to make a presentation to the
committee and the bank, obviously, as the chairman, as soon
as it can be scheduled. We proposed Friday, as to what we
paid, what we propose to pay. The hope would be before we
get back here on May 3, we reach some accommodation.

THE COURT: I am going to stay out of it. I can
save a decision.

MS. LAZAR: After the Friday meeting, if we can't
come to some resolution and it looks like 36 million dollars
will go out the door, we would like to contact chambers and
expedite things if necessary.

THE COURT: You can do that. You can get in here
before May 3rd if you can't come to agreement on Friday. But

you ought to be able to get to agreement, because it's a

24

os

Case 01-01139-AMC Doc156 Filed 04/30/01 Page 34 of 34
34

clear principle in this district, in my view.

MS. Lazar: In our view, it is as well.

MR. SPRAYREGEN: It would be very helpful to get
to an agreement. Even in the absence of a full agreement, I
have very high confidence we can get to an agreement to take
us to May 3rd.

THE COURT: That is great. All right. Thanks
for coming. I am going to recess. I have another matter.

(Court recessed at 12:25 p.m.)

Reporter: Kevin Maurer

the foregsing ts true

%rerépy certi that
: : t from my stenographic

and accurate transcrip
notes in the proceeding.

AZ OY | ake =

2Sricial Court Reporter
U. 3 District Court

_

